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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION


 IN RE:                                        )             CHAPTER 7
                                               )
 RODNEY ALLEN MCCOWAN                          )             CASE NO. 09-10347-8-___
                                               )
                                               )
                  Debtors.                     )

                        MOTION TO REOPEN CHAPTER 7 CASE AND
                          STAY STATE COURT PROCEEDINGS

          NOW COMES Rodney Allen McCowan, the Debtor, and asks this Court to reopen his

 Chapter 7 case and stay the Durham County State Court Proceeding filed by Bank of America,

 N.A. (hereinafter “BOA”), Case No. 16 CVS 4070. In support of this motion, the Debtor states

 the following:

          1.      The Debtor filed for relief under Chapter 11 of the Bankruptcy Code on

 November 30, 2009. The Order converting the Chapter 11 case to Chapter 7 was entered on

 August 4, 2010.

          2.      The Debtor listed real property located at 1211 Champions Pointe Drive, Durham,

 North Carolina 27715 (hereinafter “Real Property”) on Schedule A of his petition.

          3.      On Schedule D of his petition, the Debtor listed a lien on the Real Property in

 favor of BOA in the amount of $268,121.00.

          4.      On November 4, 2010, the Debtor received his bankruptcy discharge.

          5.      On February 16, 2011, the Final Decree was entered, and his case was closed.

          6.      Unbeknownst to the Debtor, BOA never had him sign a deed of trust against the

 property.
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        7.      On July 19, 2016, BOA filed a Complaint, case number 16 CVS 4070 (hereinafter

 “Complaint”). At that time, the Debtor resided in California, and it was not until August 2016

 that he became aware of BOA’s Complaint.

        8.      On August 22, 2016, Debtor’s counsel contacted BOA’s counsel to state that the

 Complaint was in violation of the discharge injunction.

        9.      On August 29, 2016, BOA filed its First Amended Complaint (Exhibit A), which

 removed its request for a judgment against the Defendant. However, BOA still requested a lien

 on the Debtor’s property.

        10.     The Original Complaint from BOA violated the Court’s discharge injunction in

 that it requested a judgment against the Debtor.

        11.     The Debtor asserts that the continued prosecution of this lawsuit against the

 Debtor and his property is a direct violation of the discharge injunction.

        12.     On June 6, 2017, BOA filed a Motion for Summary Judgment which is scheduled

 to be heard on July 17, 2017 in Durham.

        13.     On June 22, 2017, Debtor’s counsel received the Notice of Hearing on BOA’s

 Motion for Summary Judgment.

        14.     The Debtor requests that the Court reopen his bankruptcy case and stay BOA’s

 Complaint to allow him the ability to file a motion for violation of discharge against BOA.

        WHEREFORE, the Debtor respectfully requests that the case be reopened and that this

 Court stay the Durham County State Court Proceeding filed by Bank of America, N.A., Case

 Number 16 CVS 4070.
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      This the 22nd day of June, 2017.

                            JANVIER LAW FIRM, PLLC

                            /s/ William F Braziel III
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                            William F. Braziel III, N.C.S.B. No. 39541
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                                CERTIFICATE OF SERVICE

         I, William F. Braziel III, do hereby certify that a true copy of the foregoing was
 electronically filed through CM/ECF and served on the parties listed below by depositing a copy
 of the same in the United States mail bearing sufficient postage or electronically as indicated
 below:
            Marjorie K. Lynch (Via CM/ECF)
            Bankruptcy Administrator
            Post Office Box 3758
            Wilson, NC 27895-3758

           Gregory B. Crampton (Via CM/ECF)
           Chapter 7 Trustee
           P.O. Box 18237
           Raleigh, NC 27619

           Jason Purser
           Shapiro & Ingle
           10130 Perimeter Parkway, Suite 400
           Charlotte, NC 28216

           Bank of America, N.A. fka Countrywide Home
           Attn: Managing Agent
           7105 Corporate Drive
           Plano, TX 75024

           Bank of America, N.A.
           Attn: Managing Agent
           160 Mine Lake Ct. Ste 200
           Raleigh, NC 27615

           Rod Mccowan
           1436 Cabrillo Ave.
           Burlingame, CA 94010

        This the 22nd day of June, 2017.

                              JANVIER LAW FIRM, PLLC

                              /s/ William F Braziel III
                              William P. Janvier, N.C.S.B. No. 21136
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